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    14   and NIKON INC.
    15                               UNITED STATES DISTRICT COURT
    16                             CENTRAL DISTRICT OF CALIFORNIA
    17                                         WESTERN DIVISION
    18
    19   CARL ZEISS AG and ASML                            Case No. 2:17-cv-07083 RGK (MRWx)
         NETHERLANDS, B.V.,
    20                                                     DEFENDANTS NIKON
                                 Plaintiffs,               CORPORATION AND NIKON
    21                                                     INC.’S OPPOSITION AND
                 v.                                        REQUEST TO STRIKE TO
    22                                                     PLAINTIFFS’ IMPROPER
         NIKON CORPORATION, SENDAI                         MOTION FOR ISSUANCE OF
    23   NIKON CORPORATION, and                            PLAINTIFFS’ DISPUTED JURY
         NIKON INC.,                                       INSTRUCTION NO. 2
    24                                                     (INTERPRETATION OF THE
                                 Defendants.               CLAIMS)
    25
                                                           Trial Date: November   6, 2018
    26                                                     Courtroom: 850, 8th Floor
                                                           Hon. R. Gary Klausner
    27
    28

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     1           Plaintiffs’ demand is procedurally improper, substantively flawed, and
     2   simply unnecessary. The Court should strike the motion for multiple reasons.
     3           First, Plaintiffs failed to satisfy the Local Rule 7-3 meet-and-confer
     4   requirement. In fact, they never even advised Nikon that they would be filing an
     5   additional claim construction brief on October 26, 2018. This is especially blatant
     6   because Plaintiffs already filed an improper 25-page claim construction brief with
     7   their jury instructions. Notably, during the Pretrial Conference, Plaintiffs’ counsel
     8   misleadingly called the claim construction brief accompanying their jury
     9   instructions an “appendix.” (Decl. of Shaelyn Dawson in Supp. of Defs.’ Opp’n to
    10   Pls.’ Mot. for Issuance of Pls.’ Disputed Jury Instruction No. 2 (“Dawson Decl.”)
    11   Ex. A at 15:13.) But it is clearly titled “Memorandum of Points and Authorities in
    12   Support of Plaintiffs’ Closing Instruction No. 2.” (ECF No. 385-1.)
    13           Second, Plaintiffs’ failure to meet-and-confer is compounded by the fact that
    14   they also improperly noticed the motion for only 11 days after they filed it. The
    15   Local Rules clearly require that a motion be noticed 28 days in advance of the
    16   hearing date. L.R. 6-1. Plaintiffs did not come close to meeting that requirement
    17   here.
    18           Third, Plaintiffs’ additional claim construction brief is unauthorized and
    19   unnecessary. Plaintiffs already asked the Court to “issue” Plaintiffs’ Disputed Jury
    20   Instruction No. 2 when they filed proposed instructions on October 19. It is unclear
    21   why they have filed a redundant motion asking again that the Court provide that
    22   instruction. Moreover, contrary to Plaintiffs’ assertion that their motion is pursuant
    23   to a request, the Court was explicit that Nikon could respond to Plaintiffs’ first
    24   improper 25-page “Memorandum of Points and Authorities” already filed on
    25   October 19. (ECF No. 385-1.) Specifically, during the Pretrial Conference, the
    26   Court said to Nikon’s counsel: “If you want to just do it the way it is, where that’s
    27   in [i.e., the 25-page memorandum Plaintiffs already filed], and I’ll take a look at
    28   yours, ultimately I’ll decide what jury instructions to give.” (Dawson Decl. Ex. A

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     1   at15:4-6.) By saying “where that’s in,” the Court clearly was referring to what
     2   Plaintiffs already filed and was allowing Nikon a chance to respond. Nikon will
     3   respond this week to Plaintiffs’ original, 25-page “Memorandum of Points and
     4   Authorities” (ECF No. 385-1).
     5           After the pretrial conference, Plaintiffs apparently realized their 25-page
     6   memorandum violated the Court order that specifically limits responses in support
     7   of jury instructions to “one to two paragraphs” (ECF No. 50 at 5), not to mention
     8   the Court’s 20-page maximum for any memorandum submitted to the Court.
     9   (Dawson Decl. Ex. A at14:10-12 (The Court reprimanded Plaintiffs for filing an
    10   excessive brief: “You didn’t submit 25 pages when the Court rule says no more
    11   than 20 pages. Tell me you didn’t.” They did, and it wasn’t the first time.).)
    12   Apparently scrambling to fix these blatant errors, Plaintiffs asked Nikon to file a
    13   joint brief, in an attempt to get a second bite at the apple. Nikon, however, declined
    14   Plaintiffs’ request that would let them file a second brief. Plaintiffs already filed an
    15   improper claim construction brief, and Nikon intended to follow the Court’s
    16   invitation to file a responsive brief to the initial 25-page memorandum filed by
    17   Plaintiffs with their jury instruction on October 19.
    18           Based on these clear and egregious failures, Nikon requests that the Court
    19   strike Plaintiffs’ improper, duplicative, and flawed motion.1 This is not the first
    20   time Plaintiffs have filed a motion without following the Court’s procedural rules.
    21   (See, e.g., ECF No. 384 (filing multiple pages of responsive objections to Nikon’s
    22   proposed jury instructions when the Court’s Order for Jury Trial instructs that
    23   objections should be “one to two paragraphs”); ECF No. 349-5 (filing 21-page
    24   opposition to Nikon’s Motion in Limine No. 5); 3221 ECF Nos. 356, 356-1
    25   (unilateral filing of joint exhibit list).) The Court will have what it needs in order to
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    27    To the extent Plaintiffs attempt to file a reply to their improper motion, that also
         should be stricken. Their motion is improper as procedurally flawed and
    28   duplicative, and any reply would also be improper.

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     1   rule on claim construction: the initial 25-page memorandum that Plaintiffs filed on
     2   October 19 (without court permission); and Nikon’s response (invited with court
     3   permission on October 22 during the Pretrial Conference), which will be filed later
     4   this week.
     5
     6
                 Dated: October 29, 2018                   Respectfully submitted,
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                                                           MORRISON & FOERSTER LLP
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     9
                                                           By: /s/ Vincent J. Belusko
    10                                                         Vincent J. Belusko
    11                                                           Attorneys for Defendants
                                                                 NIKON CORPORATION AND
    12                                                           NIKON INC.
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